                                      UNITED STATES BANKRUPTCY COURT
                                               District of Oregon

   In re                                                       )
    Leroy Verne Wimer                                          )
                                                               )        Case No. 18−33765−dwh13
                         Debtor(s)                             )
                                                               )        RECORD OF PROCEEDING
    PennyMac Corp                                              )
   Moving Party                                                )        Judge: Peter C McKittrick
                                                               )
   Leroy Verne Wimer                                           )        Docket # of Motion 28
                                                               )
   Responding Party                                            )        DATE OF HEARING: 02/26/2019
                                                                       x
              K. Sundberg
   NATHAN FREDERICK                  ____no appearance         WOLFGANG G SENFT              ____no appearance
   JONES SMITH
   Attorney for Moving Party                                   Attorney for Responding Party

____ Attorney represents agreement by opposing attorney.
____ Oral stipulation approved.    ____ Written stipulation (to be) filed.
____ Order based on oral stipulation to be lodged.
 x Hearing is continued to ___________at_____________
____                         3/19          1:30                                x telephone hearing for:
                                                      in ___________________or___
      x Continued preliminary hearing ____ final hearing ____
     ____                                                       x stay remains in effect.
     ____ Date and time set, or to be set, for hearing on confirmation of Chapter 13 plan.
     ____ The Court finds that delay of over 30 days is necessary to accommodate current schedule.
     ____ Movant waives 30 day rule.
     ____ Noticed in Court. ____ Send notice
____ Off calendar; may be reset at request of either party/Movant only(30 day rule waived).

____ The Motion is denied.
____ The Motion is granted, and ____ Stay terminates forthwith/on _____________________.

     ____ No foreclosure sale before ___________________________________________________.
____ Movant may submit an order regarding termination of stay/on _________ days written notice of default to
debtor and debtor's counsel in the event that:
     ____ All (post−petition) arrears in payments due to the Movant/Trustee/both are not brought current within
     ___________ days of the date of this hearing.
     ____ Debtor fails to pay, when due, payments to the Movant/Trustee/either.
     ____ Debtor fails to maintain insurance on the collateral as required by the security agreement.
     ____ Debtor fails to file modified plan of reorganization within ________ days of the date of this hearing.
     ____ Debtor's Plan/modified plan of reorganization is denied confirmation.
     ____ OTHER:


____ Parties agree to extend 60 day time period of 11 U.S.C. §362(e)(2)(B)______ Yes _____ No.
      If NO, findings:




x OTHER:
__             Parties need to discuss.


                                               ISSUES TO BE TRIED

   ___ Is Cure Proposal Realistic?     ___ Amount of arrears       ___ Valuation      ___ Adequate Protection

___ Other(specify) ________________________________________________________________________


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